 

Case 3:17-cv-OO461-REP-RCY Document 180 Filed 09/11/18 Paq;ef"lié§é`r?&jé§e§D# ZMQB\tForm' §

 

lN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(D) AND LOCAL
CRIMINAL RULE 57.4
ln Case Number W_ , Case Name V\h|liamsl et a|. v. Big Picture Loans, LLC, et al.
Party Represented by Applicant: P|aintiffs

To: The Honorable Judges of the United States District Court for the Eastem District of Virginia

 

 

 

PERSONAL STATEMENT
FULL NAME (no initials, please) E'eanor Miche"e make
Bar Identiflcation Number 0387366 State Minnesota
Firm Name Berger Montague
Firm Phone # 612-594-5999 Direct Dial # 612-594-5933 FAX # 612_534-4470

 

 

 

E-Mail Address emdrake@bm.net
Office Mailing Address 43 SE Main Street, Suite 505, Minneapo|is, MN 55414

Name(s) of federal court(s) in Which l have been admitted See Attachment.

l certify that the rules of the federal court in the district in Which l maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

l have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

I hereby certify that, Within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the F ederal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current

l am am not X a full-time employee of the United States of America, and if so§%§;te§gnp_tion from the admission fee.

 

(App‘li€ant’s Signature)

I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant’s personal statement I affirm that his/her personal d professional character and Standing are good, and
petition the court to admit the applicant pro hac vice.

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(Signature) \-'/ (Date)
Kristi C. Kellv 72791
(Typed or Printed Narne) (VA Bar Number)
Court Use Only:
Clerk’s Fee Paid or Exemption Granted
The motion for admission is GRANTED or DENIED

 

 

(Judge’s Signamre) (Date)

 

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Attachment to E. Michelle Dral<e Pro Hac Vice Application
F ederal Courts Admitted In:

U.S. Supreme Court
U.S.C.A. Eighth Circuit
U.S.C.A. First Circuit
U.S.C.A. Seventh Circuit
U.S.C.A. Ninth Circuit

U.S.D.C. D. Minnesota
U.S.D.C. N.D. Georgia
U.S.D.C. E.D. Wisconsin
U.S.D.C. W.D. Texas
U.S.D.C. W.D. Wisconsin
U.S.D.C. E.D. Michigan
U.S.D.C. C.D. Illinois
U.S.D.C. S.D. Texas
U.S.D.C. D. Colorado
U.S.D.C. W.D.N.Y.

